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Melissa D. Hill
Partner
+1.212.309.6318
melissa.hill@morganlewis.com



February 24, 2022


VIA CM/ECF

JOINT LETTER TO THE COURT

Hon. William G. Young
Hon. Edward F. Harrington
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2300
Boston, Massachusetts 02210

c/o Tracy McLaughlin,
tracy_mclaughlin@mad.uscourt.gov

Re:      Ford, et. al v. Takeda Pharmaceuticals U.S.A., Inc. et. al – Case No. 1:21-cv-10090-WGY
         Upcoming Court-Ordered Alternative Dispute Resolution Deadlines

Dear Judge Young:

The Parties in the above-referenced action jointly write to the Court to request that they be
excused from (i) participating in the Alternative Dispute Resolution (“ADR”) Hearing set for March
7, 2022, and (ii) submitting mediation memoranda by February 28, 2022.

On August 5, 2021, the Court ordered the Parties to participate in an ADR Conference. See ECF
No. 38. The ADR hearing is scheduled to take place on March 7, 2022, at 10:00 a.m. before Judge
Edward F. Harrington, and the Parties’ respective mediation statements are due on February 28,
2022. Id.

In an effort to resolve this matter, the Parties participated in a private mediation with Margaret
Levy, Esq. of ADR Services, Inc. on November 3, 2021. In connection with the private mediation,
the Parties exchanged mediation statements and numerous documents in advance. Unfortunately,
the mediation was not successful and the Parties were unable to resolve their dispute.

Since the private mediation on November 3, 2021, the Parties’ respective positions regarding
potential early resolution have not changed. As such, another mediation at this time would be
premature and would not be an efficient use of the Parties’ or the Court’s resources.

The Parties thus respectfully request that the Court excuse them from participating in the ADR
conference with Judge Harrington and vacate the ADR conference and mediation submission
deadlines.




                                                  Morgan, Lewis & Bockius    LLP

                                                  101 Park Avenue
                                                  New York, NY 10178-0060            +1.212.309.6000
                                                  United States                      +1.212.309.6001
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The Parties have conferred in good faith and agree to the relief requested herein.

Sincerely,


SCHLICHTER BOGARD & DENTON LLP                         MORGAN, LEWIS & BOCKIUS LLP

/s/ Troy Doles                                         /s/ Melissa D. Hill
Troy Doles                                             Melissa D. Hill
100 South Fourth Street, Suite 1200                    101 Park Avenue
St. Louis, MO 63102                                    New York, NY 10178-0060
Phone: (314) 621-6115                                  Phone: (212) 309-6318
Email: tdoles@uselaws.com                              Email: melissa.hill@morganlewis.com

COUNSEL FOR PLAINTIFFS                                 COUNSEL FOR DEFENDANTS
